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Exhibit G Mail Logs
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CTF Legal Mail Signature Sheet 2-16-22
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CTF Legal Mail Signature Sheet
Redacted 2-18-22
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CTF Legal Mail Signature Sheet
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